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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


JACK MONTAGUE,
   Plaintiff,
                                                 Civil Action No. 3:16-CV-OO885
     V                                                            (AVC)

YALE UNIVERSITY, ET AL
  Defendants.                                 : JANUARY    5,2017


             MOTION FOR                     TO                  THOMAS SMITH

      The plaintiff, through his undersigned counsel, and with the concurrence

of counsel for the defendants, Patrick Noonan, Esquire, respectfully requests

that this matter be referred to Magistrate Thomas Smith to address scheduling

and related issues. With respect to available dates, the following are preferred

but, of course, counsel will coordinate with the Court to accommodate
Magistrate Smith's schedule:

      January IO,2Ol7
      January   24,2OI7        2:O0 P.m' or after

      January 25,2OI7

      January 27,2OL7

      February   l,2OI7         2:OO P.m.    or after

      February 2,2OL7

      February 3,2Ot7




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      The parties represent that they are in agreement with the requested

referral and represent that it is in the best interest of justice that the referral be

made and the issues addressed.

                                 RESPECTFULLY SUBMITTED



                                 THE PLAINTIFF,
                                 JACK MONTAGUE


                                 By:            lsl
                                       William F. Dow, III
                                       Jacobq & Dow, LLC
                                       350 Orange Street
                                       New Haven, CT 06511
                                       Telephone: (203) 772-3lOO
                                       Facsimile: (2O3) 772-1691
                                       Federal Juris No.: ct00161
                                       Email         acobsla



                                 By             lsl
                                       Max D. Stern
                                       Todd & Weld LLP
                                       One Federal Street , 27th Floor
                                       Boston, MA 02110
                                       Telephone: 617 -720-2626
                                       Facsimile : 6L7 -227 -57 7 7
                                       Email: mdstern@toddweld.com




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                          CERTIFICA         OF'SERVICE

      I hereby certify that on January sth 2017 , a copy of the foregoing was

filed electronically and served by mail on anyone unable to accept electronic

fiting. Notice of this filing will be sent by e-mail to all parties by operation of the

Court's electronic filing system or by mail to anyone unable to accept electronic

filing as indicated. on the Notice of Electronic Filing. Parties may access this

filing through the Court's CM/ECF System.


                                                lsl
                                      William F. Dow, III
                                      Jacobs & Dow, LLC
                                      350 Orange Street
                                      New Haven, Connecticut 06511
                                      Telephone: (203) 772-3LOO
                                      Facsimile: (2O3) 772-169I
                                      Federal Juris No.: ctOO161
                                      Email wdow@.i acobsiaw. com




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